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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 POST UNIVERSITY, INC.,

                 Plaintiff,
                                                        Civil Action No. 3:21-cv-01242 (JBA)
 v.

 COURSE HERO, INC.,
                                                                 September 26, 2023
                   Defendant.




                    JOINT MOTION TO AMEND SCHEDULING ORDER

       Plaintiff, Post University, Inc. and Defendant, Course Hero, Inc., respectfully move this

Court, pursuant to Fed. R. Civ. P. 6(b) and L.R. 7(b), to amend the Scheduling Order and extend

the deadlines in this action. The Parties state the following in support of this motion:

       1.       On January 18, 2022, the Parties submitted a 26(f) Report of the Parties’ Planning

Meeting proposing a schedule for this action (Dkt. 16).

       2.       On January 20, 2022, the Court entered a Scheduling Order based at least in part

on the Parties’ proposed schedule (Dkt. 17).

       3.       On August 2, 2022, the Court granted a first motion to amend the Scheduling Order

(Dkt. 30).

       4.       On February 2, 2023, the Court granted a second motion to amend the Scheduling

Order (Dkt. 46).

       5.       On April 19, 2023, the Court granted a third motion to amend the Scheduling Order

(Dkt. 54).

       6.       On July 7, 2023, the Court granted a fourth motion to amend the Scheduling Order

(Dkt. 61).
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       7.       The Parties have been working diligently to meet the current discovery schedule by

taking sixteen fact witness depositions over the course of six weeks and finishing document

productions. Supplemental discovery by both sides has necessitated the adjustment of certain fact

witness depositions towards the end of the fact discovery deadline, which, in turn, has the potential

to significantly compress the time within which expert reports and depositions can be completed,

and that the existing expert deadlines cannot reasonably be met despite the diligence of the Parties.

       8.       Accordingly, the Parties jointly and respectfully submit that good cause exists to

amend the Scheduling Order to extend the expert deadlines and subsequent deadlines under Fed.

R. Civ. P. 6(b) and L.R. 7(b).

       9.       In view of the above, the Parties respectfully request that this Court amend the

Scheduling Order and extend the expert discovery deadlines and subsequent deadlines as reflected

in the proposed amended schedule attached hereto as Appendix A.



Respectfully submitted this 26th day of September, 2023.




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PLAINTIFF,                           DEFENDANT,
POST UNIVERSITY, INC.                COURSE HERO, INC.


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                                CERTIFICATE OF SERVICE


       I hereby certify that the foregoing document was filed through the ECF system on the 26th
day of September, 2023, and will be sent electronically to the registered participants identified on
the Notice of Electronic Filing.



                                              /s/ Timothy A. Johnson




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                                                 Appendix A

            Activity             Current Due Date           Proposed Due Date                    Delta

    Fact Depositions             September 29, 2023         September 29, 20231               No change
    Completed

    Parties will designate all   October 27, 2023           December 1, 2023               1 month, 4 days
    trial experts (including
    damages experts) and
    provide opposing counsel
    with reports from
    retained experts pursuant
    to Fed. R. Civ. P.
    26(a)(2) (“Opening
    expert reports”)

    Rebuttal expert reports      November 22, 2023          January 22, 2023                   2 months
    will be provided

    Depositions of experts       Depositions of             Depositions of experts            <2 months
    will be completed            experts by January         by March 14, 2024
                                 24, 2024

    All Discovery Completed      February 7, 2024           April 12, 2024                    <2 months

    Summary Judgment             March 14, 2024             May 17, 2024                       2 months
    Motions

    Joint Trial Memorandum       If no dispositive          If no dispositive             If no dispositive
                                 motions are filed:         motions are filed: May       motions are filed: 2
                                 March 28, 2024             31, 2024                           months
                                 If dispositive motions     If dispositive motions         If dispositive
                                 are filed: 30 days         are filed: 30 days after      motions are filed:
                                 after ruling on            ruling on dispositive            no change
                                 dispositive motions        motions

    Trial Readiness              If no dispositive          If no dispositive             If no dispositive
                                 motions are filed:         motions are filed: June       motions are filed:
                                 April 22, 2024             28, 2024                         <2 months
                                 If dispositive motions     If dispositive motions         If dispositive
                                 are filed: August 19,      are filed: September 19,     motions are filed: 1
                                 2024                       2024                               month



1
 The parties agree that the previously noticed depositions of Abishek Rajendra, Gregor Carrigan, Reina Hashimoto,
and Frank Monteiro may occur after this deadline, but will endeavor to complete them as soon as possible.



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